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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


PAIGE VORARATH                                                              PLAINTIFF
o/b/o TYLER VORARATH

       v.                             CIVIL NO. 21-5001


ANDREW M. SAUL, Commissioner
Social Security Administration                                              DEFENDANT


                                           ORDER

       Before the Court is Defendant’s Unopposed Motion for Extension of Time to File an

Answer. (Doc. 8). For good cause shown, and there being no objection thereto, the Court hereby

grants the motion. Defendant shall file a responsive pleading by no later than, July 20, 2021.

       IT IS SO ORDERED this 21st day of May 2021.




                                      /s/Christy Comstock
                                      HON. CHRISTY COMSTOCK
                                      UNITED STATES MAGISTRATE JUDGE
